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 1   *
     BRENT L. RYMAN, ESQ. (#008648)
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     99 West Arroyo Street
 3   P.O. Box 3559
     Reno, Nevada 89505
 4   Telephone: (775) 786-3930
     Attorneys for Nye County Defendants
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 9
10                        IN THE UNITED STATES DISTRICT COURT
11                               FOR THE DISTRICT OF NEVADA
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13
14   E STA TE O F N EK IY L O D W A Y N E
     GRAVES, by and through Eureka Graves as          Case No.: 2:20-cv-02359-JAD-DJA
15   next-of-kin, personal representative and
     appointed Special A dministrator                 STIPULATION FOR
16   SHANNON L. EVANS; EUREKA GRAVES,                 ACCEPTANCE OF SERVICE BY
     an individual,                                   NYE COUNTY DEFENDANTS AND
17                                                    EXTENSION OF DEADLINE TO
                   Plaintiffs,                        RESPOND TO PLAINTIFFS’ FIRST
18                                                    AMENDED COMPLAINT (#35)
     vs.                                              (First Request)
19
     NYE COUNTY , NEVADA; JOHN
20   KAKAVULIAS, an individual and employee
     of Nye County, Nevada; SOC NEVADA
21   LLC, a foreigh limited liability company d/b/a
     SOC, LLC; TREQUIS HARRIS, an individual
22   and employee of SOC Nevada, LLC; DOES
     I - X; ROES I - X,
23
                Defendants.
24   ____________________________________/
25          COMES NOW, Plaintiffs ESTATE OF NEKIYLO DWAYNE GRAVES and Special
26   Administrator; EUREKA GRAVES, and Defendants NYE COUNTY, NEVADA, and JOHN
27   KAKAVULIAS (hereinafter the “Nye County Defendants”), by and through their Attorneys
28   of Record, ERICKSON, THORPE & SWAINSTON, LTD., and BRENT L. RYMAN, ESQ.,


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 1   and hereby stipulate to the Nye County Defendants’ acceptance of service of Plaintiffs’ First
 2   Amended Complaint (#35) and associated summonses (#39, #40) for these Defendants.
 3   These parties also stipulate to an extension of time, up to and including January 7, 2022, for
 4   the Nye County Defendants to file their response to Plaintiffs’ First Amended
 5   Complaint (#35). This is the first request for an extension of the response deadline to
 6   Plaintiffs’ First Amended Complaint (#35), and the parties hereby stipulate and testify the
 7   agreement and request is not for the purposes of undue delay by providing these
 8   Defendants – who have already appeared in this litigation – time to prepare and file their
 9   response to Plaintiffs’ amended pleading.
10          DATED this 3d day of December, 2021.
11                                               ERICKSON, THORPE & SWAINSTON, LTD.
12
13                                                      /s/ Brent Ryman
                                                 BRENT L. RYMAN, ESQ. (#008648)
14                                               ERICKSON, THORPE & SWAINSTON, LTD.
                                                 99 West Arroyo Street
15                                               P.O. Box 3559
                                                 Reno, Nevada 89505
16                                               Telephone: (775) 786-3930
                                                 Attorneys for Nye County Defendants
17
18   ///
19   ///
20          DATED this 3d day of December, 2021.
21                                               PAUL PADDA LAW
22
23 IT IS SO ORDERED.                                   /s/ Paul Padda
                                                 PAUL S. PADDA, ESQ. (#10417)
24                                               PAUL PADDA LAW
     Dated: December 6, 2021                     4560 South Decatur Blvd., Suite 300
25                                               Las Vegas, Nevada 89103
                                                 Telephone: (702) 366-1888
26                                               Attorneys for Plaintiffs
27 _______________________________
   Daniel J. Albregts
28 United States Magistrate Judge


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 1                                 CERTIFICATE OF SERVICE
 2         Pursuant to FRCP Rule 5, I certify that I am an employee of ERICKSON, THORPE &
 3   SWAINSTON, LTD. and that on this day I caused to be served a true and correct copy of the
 4   attached document by:
 5         G      U.S. Mail
 6
           G      Facsimile Transmission
           G      Personal Service
 7         G      Messenger Service
 8         X      CMECF

 9   addressed to the following:
10                Paul S. Padda, Esq.
                  Paul Padda Law
11                4030 S. Jones Blvd., Unit 30370
                  Las Vegas, NV 89173
12
                  Michael Lanigan, Esq.
13                Law Office of Michael Lanigan
                  318 East Fourth Street
14                Waterloo, IA 50703
15
           DATED this 3d day of December, 2021.
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17                                                       /s/ Brent Ryman
                                                     Brent Ryman
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